  Case 18-06539-dd           Doc 21 Filed 05/30/19 Entered 05/31/19 01:00:08                       Desc Imaged
                                   Certificate of Notice Page 1 of 4
                                           United States Bankruptcy Court
                                              District of South Carolina



Case Number: 18−06539−dd                                    Chapter: 7

In re:
 Jay Coleman Connor
                                                                                               Filed By The Court
  Entered By The Court                    ORDER DISCHARGING DEBTOR                                 5/28/19
         5/28/19                                                                                 Laura A. Austin
                                                                                                  Clerk of Court
                                                                                               US Bankruptcy Court



A discharge under 11 USC § 727 is granted to: Jay Coleman Connor,

IT IS SO ORDERED.




                                                            Chief United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
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Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,        This order does not prevent debtors from paying
and it does not determine how much money, if          any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                  debts according to the reaffirmation agreement.
                                                      11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any             Most debts are discharged
attempt to collect a discharged debt from the         Most debts are covered by the discharge, but not
debtors personally. For example, creditors            all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,       personal liability for debts owed before the
or otherwise try to collect from the debtors          debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise      Also, if this case began under a different chapter
in any attempt to collect the debt personally.        of the Bankruptcy Code and was later converted
Creditors who violate this order can be required      to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.           are discharged.
However, a creditor with a lien may enforce a         In a case involving community property: Special
claim against the debtors' property subject to that   rules protect certain community property owned
lien unless the lien was avoided or eliminated.       by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to         not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

Some debts are not discharged                         Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:        agreement are not discharged.

     ♦ debts that are domestic support                In addition, this discharge does not stop
       obligations;                                   creditors from collecting from anyone else who is
                                                      also liable on the debt, such as an insurance
                                                      company or a person who cosigned or
     ♦ debts for most student loans;                  guaranteed a loan.


     ♦ debts for most taxes;
                                                       This information is only a general summary
     ♦ debts that the bankruptcy court has             of the bankruptcy discharge; some
       decided or will decide are not discharged       exceptions exist. Because the law is
       in this bankruptcy case;                        complicated, you should consult an
                                                       attorney to determine the exact effect of the
                                                       discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.
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                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 18-06539-dd
Jay Coleman Connor                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-2                  User: dillard                      Page 1 of 2                          Date Rcvd: May 28, 2019
                                      Form ID: 164BNC                    Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 30, 2019.
543556588      +API - CHARLESTON LLC,    C/O Moore and VanAllen,    PO Box 22828,   Charleston SC 29413-2828
543556589      +Attorney General of The US,    Civil Division Bankruptcy Section,     US Department of Justice,
                 Washington DC 20530-0001
543556592      +Bradford Mortgage /TMST,    100 N. Cherry St No.400,    Winston Salem NC 27101-4016
543556594       First Federal Savings and Loan,    PO Box 30149,    Tampa FL 33630-3149
543556593       First Federal-Formerly Plantation,    Federal Bank fka First Trust,     PO Box 31279,
                 Tampa FL 33631-3279
543556595       Gene Wright,   c/o J & L Oil Co,    204 US-45,    Vernon Hills, IL 60061
543556599      +Jim & Sara Connor,     1621 East Saluda Lake Road,    Greenville SC 29611-2453
543556603      +Rogers Townsend & Thomas,    PO Box 100200,    Columbia SC 29202-3200
543556605      +South State Bank,    46 Broad Street,   Charleston SC 29401-3004
543556607      +Synovus Bank,   230 Seven Faerms Drive Ste 100,     Charleston SC 29492-7555
543556608      +The Law Firm of Cisa and Dodds,    858 Lowcountry Blvd Ste 101,     Mount Pleasant SC 29464-3080

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: jayc650@gmail.com May 28 2019 22:13:10       Jay Coleman Connor,
                 85 Cumberland Street #3,   Charleston, SC 29401-3168
tr             +EDI: QKCAMPBELL.COM May 29 2019 02:13:00      Kevin Campbell,    PO Box 684,
                 Mount Pleasant, SC 29465-0684
543556587      +EDI: AFNIRECOVERY.COM May 29 2019 02:13:00      A T & T,    c/o Afni Inc,    PO Box 3427,
                 Bloomington IL 61702-3427
543556591      +EDI: BANKAMER2.COM May 29 2019 02:13:00      Bank of America,    100 N. Tryon Street,
                 Charlotte NC 28255-0001
543556590       EDI: BANKAMER.COM May 29 2019 02:13:00      Bank of America,    PO Box 1390,
                 Norfolk VA 23501-1390
543556596       EDI: IRS.COM May 29 2019 02:14:00      Internal Revenue Service,    1835 Assembly Street,
                 Stop MDP 39,   Columbia SC 29201
543556602       EDI: BANKAMER2.COM May 29 2019 02:13:00      Nations Bank,    820 Silver Lake Blvd,
                 Dover DE 19904-2464
543556604      +E-mail/Text: bankruptcy@sctax.org May 28 2019 22:13:46       SC Department of Revenue,
                 PO Box 12265,   Columbia SC 29211-2265
543556606      +EDI: STF1.COM May 29 2019 02:14:00      Suntrust,   PO Box 26150,    Richmond VA 23260-6150
543556609      +E-mail/Text: USASC-Bankruptcy@usdoj.gov May 28 2019 22:13:50       US Attorney for South Carolina,
                 For The Internal Revenue Service,   1441 Main Street Suite 500,     Columbia SC 29201-2897
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
543556597*        Internal Revenue Service,   ACS Support,    PO Box 8208,   Philadelphia PA 19101-8208
543556598*        Internal Revenue Service,   Centralized Insolvency Operations,    PO Box 7346,
                   Philadelphia PA 19101-7346
543556600      ##+Korn Law Firm,   1300 Pickens Street,    Columbia SC 29201-3430
543556601      ##+Michael Lemmons,   10 Seneca Ave West,    Hawthorn Woods IL 60047-1917
                                                                                               TOTALS: 0, * 2, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 30, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                             Form ID: 164BNC             Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 28, 2019 at the address(es) listed below:
              Ann U. Bell   on behalf of Debtor Jay Coleman Connor ann@droselaw.com, drose@droselaw.com
              Kevin Campbell    kcampbell@campbell-law-firm.com, kcampbell@ecf.axosfs.com
              R. Michael Drose   on behalf of Debtor Jay Coleman Connor Drose@Droselaw.com, droselaw@gmail.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
                                                                                            TOTAL: 4
